                UNITED STATES DISTRICT COURT
          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                      CASE NO. 1:21-MC-6

In re Application of KARAM         )
SALAH AL DIN AWNI AL               )
                                         ORDER GRANTING JOINT
SADEQ and STOKOE                   )
                                        MOTION FOR EXTENSION OF
PARTNERSHIP SOLICITORS             )
                                         TIME TO FILE MOTION TO
for an Order Under § 1782 to       )
                                         QUASH SUBPOENAS AND
Conduct Discovery for Use in       )
                                           BRIEFING SCHEDULE
Foreign Proceedings.               )

      Upon Consideration of Applicants Karam Salah Al Din Awni Al Sadeq

and Stokoe Partnership Solicitors’ (collectively, “Applicants”) and Respondents

Nicholas Del Rosso and Vital Management Services, Inc.’s (“VMS”; collectively,

“Respondents”) Joint Motion for Extension of Time to File Motion to Quash

Subpoenas and Briefing Schedule; the Court, being of the opinion that there is

good cause to grant the Motion, hereby ORDERS: The Motion is ALLOWED.

      The deadline for Respondents to file a Motion to Quash and enter a

briefing schedule is extended by twenty (20) days, up to and including

November 30, 2021. The deadline for Applicants’ Response in Opposition to the

Motion to Quash is December 14, 2021; and Respondents’ Reply in Support of

their Motion to Quash, if any, is due on or before December 23, 2021.

   SO ORDERED this the 10th day of November, 2021.

                                                /s/ L. Patrick Auld
                                                 L. Patrick Auld
                                          United States Magistrate Judge




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